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                                             FOR THE
                       NORTHERN DISTRICT OF CALIFORNIA

                            VENUE: SAN FRANCISCO

                                                                            StJSAN V.   :r.T

                                 UNITED STATES OF AMERICA,

                                               V.


                                      CARLOS VARGAS




                                              CB19                   0360

                                      DEFENDANT(S).


                                     INDICTMENT

            21 U.S.C. § 841(a)(1), and (b)(1)(C) - Distribution of Cocaine Base;
                          21 U.S.C. § 853 - Forfeiture Allegation




                  A true bill.



                                                                Foreman


                  Filed in open court this      I       d.vcf




                                                    Bail, $

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